Case 3:16-cv-00316-SDD-RLB Document 22 04/04/17 Page iofi1

UNITED STATES DISTRICT COURT

MIDDLE DISTRICT OF LOUISIANA
NEDRA LEBEUF CIVIL ACTION
VERSUS 16-316-SDD-RLB

PORTFOLIO RECOVERY ASSOCIATES
AND EXPERIAN INFORMATION
SOLUTIONS, INC.
ORDER
CONSIDERING the Joint Stipulation of Dismissal’ filed by Parties in the above
captioned matter;
IT IS HEREBY ORDERED that Plaintiff's claims against all Defendants are

dismissed with prejudice and this matter is dismissed in its entirety.

Baton Rouge, Louisiana the g day of April, 2017.

SHELLY D. DI€K, DISTRICT JUDGE
MIDDLE DISTRICT OF LOUISIANA

 

1 Rec. Doc. 21.
